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                                 UNITED STATES DISTRICT COURT
                                           FOR THE
                                 SOUTHERN DISTRICT OF INDIANA
                                     INDIANAPOLIS DIVISION

                                                        The Court ACCEPTS Counter
        BRANDI WETHERALD,                               Defendant's Jurisdictional
        Individually and as Parent                      Statement, dkt. 26, as
        and Next Friend                                 sufficient to establish the
        of C.W., A Minor,                               Court's subject matter
                                              )         jurisdiction at this time.
                                              )         JPH, 2/19/19.
                               Plaintiff,     )
                                                        Distribution via CM/ECF
                                              )
        v.                                    )      Case No.: 1:19-cv-00003-JPH-DML
                                              )
                                              )
        CARMEL CLAY SCHOOL                    )
        CORPORATION and THE                   )
        CARMEL CLAY BOARD                     )
        OF SCHOOL TRUSTEES,                   )
                                              )
                               Defendants.    )

                    COUNTERDEFENDANT’S JURISDICTIONAL STATEMENT


                Counterdefendant Brandi Wetherald, by counsel and pursuant to the Court’s

 Order on Jurisdiction entered February 7, 2019 [Doc. 23], states that the Court has subject

 matter jurisdiction over the Counterclaim under 20 U.S.C. § 1415(i)(2)(A), 20 U.S.C. §

 1415(i)(3)(A) and 28 U.S.C. § 1331.




                                                     Respectfully submitted,


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                                                     Thomas W. Blessing 15696-49
                                                     Catherine M. Michael 22474-49
                                                     Attorneys for Plaintiff
